     Case 1:16-cv-02145-JEJ-MCC Document 297 Filed 12/17/19 Page 1 of 6



              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                     :
ELLEN BARTELS AND FREDERICK L.                       :
BARTELS, JR., Individually and as                    :
Administrators of the Estate of Abrielle Kira        :
Bartels, Deceased,                                   : 1:16-cv-02145-JEJ
                                       Plaintiffs,   :
                        vs.                          : (Jones III, J.)
                                                     :
THE MILTON HERSHEY SCHOOL, and                       :
THE HERSHEY TRUST COMPANY, AS                        :
TRUSTEE OF THE MILTON HERSHEY                        :
SCHOOL TRUST,                                        :
                         Defendants.                 :
                                                     :

                                      ORDER

      AND NOW, this ____ day of ___________________, 2019, upon

consideration of Defendants’ Motion for Summary Judgment (Doc.___), and any

opposition thereto, it is hereby ORDERED that the Motion is GRANTED. It is

FURTHER ORDERED that judgment is entered in favor of Defendants, and

against Plaintiffs on all remaining counts.



                                              _____________________________
                                              John E. Jones III, Judge
                                              United States District Court
                                              Middle District of Pennsylvania
     Case 1:16-cv-02145-JEJ-MCC Document 297 Filed 12/17/19 Page 2 of 6



               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT F/K/A JULIE                     :
ELLEN BARTELS AND FREDERICK L.                       :
BARTELS, JR., Individually and as                    :
Administrators of the Estate of Abrielle Kira        : 1:16-cv-02145-JEJ
Bartels, Deceased,                                   :
                                       Plaintiffs,   : (Jones III, .J.)
                        vs.                          :
                                                     :
THE MILTON HERSHEY SCHOOL, and                       :
THE HERSHEY TRUST COMPANY, AS                        :
TRUSTEE OF THE MILTON HERSHEY                        :
SCHOOL TRUST,                                        :
                         Defendants.                 :
                                                     :

            DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendants, the

Milton Hershey School (“MHS” or the “School”), and Hershey Trust Company

(“HTC”), as trustee of The Milton Hershey School Trust (“MHST”), (collectively,

“Defendants”), move for summary judgment on all of Plaintiffs’ remaining

claims. 1

       On October 22, 2019, the Court “provisionally” unsealed documents filed

under seal in this case, subject to Defendants’ submission of proposed redactions

and/or a particularized showing of good cause for the continued sealing of the


       1
        On October 28, 2016, the Milton Hershey School Trust, and the Board of
Managers of the Milton Hershey School were dismissed from this action. See Dkt.
Sheet (terminating the said entities from this action).
     Case 1:16-cv-02145-JEJ-MCC Document 297 Filed 12/17/19 Page 3 of 6



documents. (Doc.286.) On December 6, 2019, in compliance with the Court’s

Order, Defendants submitted briefing, proposed redactions, and justifications for

continued sealing of the provisionally unsealed records. (Doc.291.)

      At the time of the filing of this Motion, the Court has not ruled on the

redactions and justifications for continued sealing submitted by Defendants on

December 6, 2019. (Doc.291.) Accordingly, to the extent the proposed redacted

information and documents that Defendants contend should remain continuously

sealed are also part of the Defendants’ instant Motion for Summary Judgment, the

publicly filed Motion and related filings are redacted in conformity with

Defendants’ December 6, 2019, submission to the Court. (Id.)

      Redacted versions of Defendants’ instant Brief in Support of Motion for

Summary Judgment, Statement of Undisputed Material Facts, and Exhibits, all

filed contemporaneously herewith, mirror the color-coded redactions and

justifications for continued sealing contained within Document 291 filed by

Defendants on December 6, 2019. (Id.) A color-coded redaction key is attached

hereto as Exhibit 1. Defendants will separately serve the Court and Plaintiffs’

counsel with non-redacted versions of all filings related to the within Motion for

Summary Judgment.

      For the reasons set forth in Defendants’ Memorandum of Law in Support of

Motion for Summary Judgment, the provisions of which are incorporated herein by

                                         2
     Case 1:16-cv-02145-JEJ-MCC Document 297 Filed 12/17/19 Page 4 of 6



reference, this Court should grant Defendants’ Motion, and enter summary

judgment in Defendants’ favor on all of Plaintiffs’ remaining claims.



                                      Respectfully submitted,

                                      ELLIOTT GREENLEAF, P.C.

                                      /s/ Jarad W. Handelman
                                      Jarad W. Handelman
                                      Kyle M. Elliott
                                      17 N. Second Street, Suite 1420
                                      Harrisburg, PA 17101
                                      717.307.2600 (phone) / 717.307.2060 (fax)
                                      215.977.1000 (phone) / 215.977.1099 (fax)
                                      jwh@elliottgreenleaf.com
                                      kme@elliottgreenleaf.com

Dated: December 17, 2019              Counsel for Defendants




                                         3
     Case 1:16-cv-02145-JEJ-MCC Document 297 Filed 12/17/19 Page 5 of 6



                 CERTIFICATE OF NON-CONCURRENCE

      Pursuant to Local Rule 7.1, undersigned counsel certifies that he sought

concurrence for the Motion from Plaintiffs, and that it has not been granted.



Dated: December 17, 2019                     /s/ Jarad W. Handelman
                                             Jarad W. Handelman, Esquire
     Case 1:16-cv-02145-JEJ-MCC Document 297 Filed 12/17/19 Page 6 of 6



                        CERTIFICATE OF SERVICE
      I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing to

be served via ECF upon all counsel of record, including:

                            Gregory F. Cirillo, Esquire
                              John J. Higson, Esquire
                            John W. Schmehl, Esquire
                               Dilworth Paxson LLP
                         1500 Market Street, Suite 3500E
                              Philadelphia, PA 19102
                               215.575.7000 (phone)
                                215.575.7200 (fax)
                            gcirillo@dilworthlaw.com
                            jhigson@dilworthlaw.com
                           jschmehl@dilworthlaw.com
                               Counsel for Plaintiffs


Dated: December 17, 2019                    /s/ Jarad W. Handelman
                                            Jarad W. Handelman, Esquire




                                        5
